      Case 4:21-cv-00306-MW-MAF Document 6 Filed 09/23/21 Page 1 of 2




                   IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                           TALLAHASSEE DIVISION

TYLER ADAM THOMAS,

      Plaintiff,

v.                                             Case No.: 4:21cv306-MW/MAF

OTSUKA PHARMACEUTICAL
CO., et al.,

     Defendants.
___________________________/

                     ORDER ACCEPTING AND ADOPTING
                      REPORT AND RECOMMENDATION

      This Court has considered, without hearing, the Magistrate Judge's Report and

Recommendation. ECF No. 4. The Report and Recommendation was returned as

undeliverable to Plaintiff on September 21, 2021. ECF No. 5. This Court has

searched the Clallam County Correctional Facility’s online jail roster to determine

whether Plaintiff is still in custody, and it appears he was released on August 18,

2021. Plaintiff has not updated this Court with a forwarding address, even though

Plaintiff acknowledged that his failure to do so could result in dismissal of his action.

See ECF No. 1 ¶ 5 (“I agree to provide the Clerk’s Office with any changes to my

address where case-related papers may be served. I understand that my failure to

keep a current address on file with the Clerk’s Office may result in the dismissal of

my case.”). Accordingly,
       Case 4:21-cv-00306-MW-MAF Document 6 Filed 09/23/21 Page 2 of 2




      IT IS ORDERED:

      The report and recommendation, ECF No. 4, is accepted and adopted as this

Court’s opinion. The Clerk shall enter judgment stating, “Plaintiff’s claims are

DISMISSED for failure to prosecute and failure to comply with a Court Order.” The

Clerk shall close the file.

      SO ORDERED on September 23, 2021.

                                     s/Mark E. Walker
                                     Chief United States District Judge




                                       2
